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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

  DAYTON AREA CHAMBER OF
  COMMERCE, et al.,

              Plaintiffs,                     No. 3:23-cv-00156-TMR-PBS

              v.                                 Judge Thomas M. Rose

  XAVIER BECERRA, et al.,                 Magistrate Judge Peter B. Silvain, Jr.

              Defendants.


  MEMORANDUM IN SUPPORT OF MOTION FOR A PRELIMINARY INJUNCTION
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                                         INTRODUCTION

        Rushed through Congress without debate using the budget reconciliation process and

 enacted on a bare-party line vote, the “Inflation Reduction Act of 2022” (IRA) dramatically

 expanded bureaucratic control over the pharmaceutical industry through its misleadingly named

 “Drug Price Negotiation Program.” 42 U.S.C. § 1320f et seq. A “negotiation” implies a voluntary

 transaction between two parties. But the reality of this statute is just the opposite. The IRA

 delegates vast, essentially unfettered power to the Secretary of Health and Human Services to force

 manufacturers to sell their products at whatever prices the Secretary imposes.

        That price-control scheme is directly contrary to longstanding Sixth Circuit precedent. In

 Michigan Bell Tel. Co. v. Engler, 257 F.3d 587 (2001), the Sixth Circuit held that a price-control

 scheme must “adequately safeguard against imposition of confiscatory rates” by providing, at

 minimum, a “guarantee” of “a fair and reasonable rate of return on investment.” Id. at 594–95 &

 n.4. That is, “due process guarantees a fair and reasonable regulatory rate, not just the possibility

 of acquiring such a rate from an authority selecting rates within a prescribed range.” Id. (emphasis

 added). But the “Drug Price Negotiation Program” fails to do anything of the sort. To the contrary,

 the IRA gives the Secretary free rein to set prices unilaterally, with no meaningful safeguards to

 ensure the constitutionally required guarantee of a just and reasonable rate of return. Compounding

 the constitutional injury, the statute denies administrative and judicial review of the Secretary’s

 decisions and camouflages the reality of bureaucratic price controls by requiring manufacturers to

 “agree” to “negotiate” with the Secretary and to “agree” that the price set by the Secretary is the

 “maximum fair price” for their products. Under Michigan Bell, this price-control scheme violates

 due process.

        As set forth more fully in Plaintiffs’ complaint, the IRA’s draconian price-control program

 violates several other bedrock constitutional requirements. The IRA flouts the separation of powers
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 by giving the Secretary unreviewable power to set arbitrarily low prices for a major national

 industry in the Secretary’s sole discretion. It forces manufacturers to “agree” to the government-

 set price by threatening them with a crushing so-called “excise tax” that violates the Excessive

 Fines Clause and exceeds Congress’s enumerated powers. And it violates the First Amendment by

 compelling manufacturers to “agree” publicly that the government-set price is the “maximum fair

 price,” no matter how strenuously they disagree.

         This motion for preliminary relief focuses solely on the Due Process Clause, however,

 because a straightforward application of Michigan Bell would protect Plaintiffs’ interests and

 preserve the status quo to allow them to litigate the merits of all of their claims. Indeed, in Michigan

 Bell, a unanimous Sixth Circuit panel affirmed a preliminary injunction against one price-setting

 provision and reversed the denial of a PI against another—on the same grounds advanced by

 Plaintiffs here. See 257 F.3d at 590. In particular, when the government sets prices, it must afford

 parties certain procedural safeguards to ensure the constitutional minimum of just and reasonable

 prices and a fair return on investment. Id. at 592–93. The IRA not only lacks those required

 safeguards, but affirmatively imposes a cap on prices that is well below market value and directs

 HHS to aim for the “lowest” price. 42 U.S.C. § 1320f-3(b)(1). The IRA therefore invites

 “confiscatory rates,” violating due process. Michigan Bell, 257 F.3d at 592–95.

         The constitutional harm that Plaintiffs’ members face is certain and impending, absent

 preliminary relief. The IRA requires HHS to publish the list of drugs it has selected for price

 controls by September 1, 2023, and requires the manufacturers of those drugs to “agree” to

 “negotiate” by October 1—thereby subjecting themselves to an unconstitutional process whose

 outcome will be whatever the Secretary unilaterally decrees. Plaintiffs’ members include

 manufacturers whose drugs are expected to be selected and who have therefore already suffered,




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 and will suffer, substantial irreparable harm. Because all the preliminary injunction factors weigh

 strongly in Plaintiffs’ favor, this Court should enjoin the implementation of the IRA’s price-control

 program, as required by Michigan Bell. See id. at 590.

                                          BACKGROUND

 I.     The Prescription Drug Market

        Prescription drug pricing in our country has historically been market-driven. Although the

 federal government is the largest market participant, Congress long required the government to

 provide reimbursement for drugs in Medicare using formulas tied to market prices. Medicare Part

 B covers a range of outpatient healthcare services, including drugs that physicians administer to

 their patients, 42 U.S.C. § 1395k(a)(1); id. § 1395x(s)(2)(A), and since 2005, Medicare Part B has

 reimbursed providers 106% of a drug’s Average Sales Price, which is the average price to

 commercial purchasers in the United States inclusive of rebates and other discounts, see id.

 § 1395w-3a. Medicare Part D, which covers self-administered prescription drugs, is managed by

 private insurers who contract with HHS to provide a prescription drug benefit, and those private

 insurers have negotiated drug prices with pharmaceutical manufacturers. Before the IRA, in Part

 D’s “non-interference clause,” Congress prohibited HHS from setting drug prices or

 “interfer[ing]” in those market-based negotiations. Id. § 1395w-111(i).

        Congress’s market-oriented approach to price-setting reflected two fundamental realities.

 First, in the healthcare field, the federal government is not only a major regulator, but also the

 “domina[nt]” market participant. Sanofi Aventis U.S. LLC v. HHS, 58 F.4th 696, 699 (3d Cir. 2023).

 Through Medicare and Medicaid, it accounts for “almost half the annual nationwide spending on

 prescription drugs.” Id. (citing Cong. Budget Off., Prescription Drugs: Spending, Use, and Prices

 8 (2022)). This dual role raises the obvious danger that the government will use self-serving rules

 to tilt the playing field in its favor, disadvantage other market participants, and effectively impose


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 price controls that would alter the entire market. The dual role also creates the temptation for

 actions that transgress the limits on government enshrined in our Constitution.

        Second, Congress’s market-focused approach reflected the realities of the drug

 development and approval process, which is notoriously challenging and expensive. Companies

 invest billions of dollars in research and development to discover new drugs, conduct rigorous pre-

 clinical and clinical testing, and shepherd drugs through the lengthy FDA approval process, with

 no certainty that a drug will ever make it to the pharmacy shelves. The average cost of bringing a

 single new drug to market is commonly estimated to be more than $2 billion,1 and the process

 takes an average of 10 to 15 years.2 Only about 1 in 5000 potential new drugs successfully

 navigates these hurdles; the vast majority are never approved for patient use.3 When a drug does

 succeed, therefore, companies need to be able to make returns that offset the costs of the numerous

 experimental drugs that fail. Recognizing that economic imperative, Congress favored market-

 based pricing mechanisms that respected manufacturers’ property rights and allowed the United

 States to become the world leader in pharmaceutical innovation.

 II.    The Inflation Reduction Act

        A.      The IRA’s Unprecedented Provisions

        In the IRA, Congress delegated sweeping power to HHS to reshape the U.S.

 pharmaceutical industry through the “Drug Price Negotiation Program.” 42 U.S.C. § 1320f(a). The




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 program, which abandons Congress’s previous reliance on market prices and on other safeguards

 to prevent HHS from abusing its dual role, will soon encompass dozens of the most important and

 most widely used prescription drugs. By delegation to the Centers for Medicare & Medicaid

 Services (CMS), HHS has begun implementing the program, including through a 198-page

 “guidance” document issued on June 30. See Memorandum from CMS on Revised Guidance for

 Medicare Drug Price Negotiation Program (June 30, 2023), https://www.cms.gov/files/revised-

 medicare-drug-price-negotiation-program-guidance-june-2023.pdf (“Revised Guidance”).

        The IRA requires the Secretary to rank “negotiation-eligible drugs” based on Medicare

 expenditures over the past year and to subject a certain number of such drugs to the “negotiation”

 process. See 42 U.S.C. § 1320f-1(b)(1)(A)–(B). HHS must meet the following deadlines:

        •   September 1, 2023 – The Secretary must publish the ten Medicare Part
            D drugs selected for “negotiation.” Id. § 1320f(d)(1).
        •   October 1, 2023 – Manufacturers of selected drugs must sign
            “agreements” to “negotiate.” Id. § 1320f(d)(2)(a).
        •   October 2, 2023 – Manufacturers must submit extensive data requested
            by the Secretary. Id. § 1320f(d)(5)(A).
        •   February 1, 2024 – HHS must transmit its initial “offer” for the
            “maximum fair price” for each selected drug. Id. § 1320f(d)(5)(B).
        •   March 2, 2024 – Each manufacturer must either accept HHS’s offer or
            send a “counteroffer.” Id. § 1320f-3(b)(2)(C)(i).
        •   August 1, 2024 – HHS must decide the prices it is imposing, thereby ending the
            “negotiation” process. Id. § 1320f(d)(5).
        •   September 1, 2024 – HHS publishes the “maximum fair prices.” Id. § 1320f(d)(6).
        •   January 1, 2026 – The prices go into effect.

 This process repeats annually, with 15 more Part D drugs selected for 2027 by February 1, 2024;

 15 more Part D and Part B drugs selected for 2028 by February 1, 2025; and 20 more Part D and

 Part B drugs selected for 2029 and each year thereafter. Id. §§ 1320f(b)(3), 1320f-1(a)(1)–(4).

        Once a manufacturer’s drug is selected, it must enter into “negotiations” with the Secretary.

 Id. § 1320f-3. These are negotiations in name only. In a genuine negotiation, if the parties do not

 agree, either party can walk away. Not under the IRA. A manufacturer faces a massive penalty


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 misleadingly called an “excise tax” (explained below) if it fails to do any of these things required

 by the IRA: (1) “agree” to enter into “negotiation,” (2) submit detailed, sensitive information to

 HHS, and (3) “agree” to the “maximum fair price” set by HHS. 26 U.S.C. § 5000D(b)(1)–(4). The

 IRA directs HHS to make an “offer” and the manufacturer to “counteroffer.” 42 U.S.C. § 1320f-

 3(b)(2)(C)–(D). But after the manufacturer “counteroffers,” HHS is empowered to set whatever

 price it wants and calling it the “maximum fair price.” The IRA’s references to “negotiations” and

 “agreements” on “fair” prices are thus pure doublespeak—expedient labels used to mask the reality

 of unilateral price controls.

         Throughout the process, HHS can demand detailed information, including confidential and

 proprietary information that a manufacturer would not ordinarily share with another market

 participant. Id. § 1320f-2(a)(4). Under threat of millions of dollars in civil penalties, manufacturers

 must “compl[y] with” whatever requirements HHS decides are “necessary for purposes of

 administering the program and monitoring compliance.” Id. §§ 1320f-6(c), 1320f-2(a)(5). And the

 IRA imposes no standards to govern HHS’s use of that information to set prices; it merely directs

 HHS to “consider” the information provided by the manufacturer, including certain cost

 information, prior federal financial support, data on patent applications, revenue and sales volume

 data, and information about alternative treatments. Id. § 1320f-3(e). The IRA directs HHS “to

 develop and use a consistent methodology and process … for negotiations … that aims to achieve

 the lowest maximum fair price for each selected drug.” Id. § 1320f-3(b)(1) (emphasis added). But

 a direction to aim consistently for the “lowest” price only underscores the constitutional problem:

 the IRA offers no protections against confiscatory prices and does not guarantee a fair return.

         Most obviously, the term “maximum fair price” is not defined by reference to any external

 standard of fairness; it is simply the “price negotiated” (i.e., dictated) “pursuant to section 1320f-




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 3.” Id. § 1320f. As CMS admits, while the statute requires CMS to “consider” certain “factors,”

 “CMS has discretion to determine how or to what degree each factor should be considered.”

 Revised Guidance at 144. In other words, the manufacturer’s information goes into a black box,

 and out comes whatever HHS, unconstrained by any legal standard, chooses to “offer.” Similarly,

 while HHS says it will meet with manufacturers, id. at 152, the statute is silent regarding how HHS

 is supposed to decide whether to accept a manufacturer’s “counteroffer.” The statute says only that

 the Secretary must “respond in writing.” Id. § 1320f-3(b)(2)(D). Offering to meet is a legally empty

 gesture without a statutory standard governing the agency’s response.

        Although the IRA does not guarantee any minimum “floor” below which HHS may not

 descend in setting a price for a drug (apart from a narrow, temporary exception for certain “small

 biotech” drugs), the IRA does set a ceiling for the “negotiations.” Id. § 1320f-3. That ceiling is the

 lowest number yielded by various alternative calculation methods. Each of these methods results

 in a price well below the market price. For example, the IRA limits the ceiling for “negotiations”

 to between 40% and 75% of a drug’s Non-Federal Average Manufacturer Price (Non-FAMP). Id.

 § 1320f-3(c)(1)(C), (b)(2)(F). Non-FAMP is a measurement of the drug’s average net sales price

 to commercial purchasers after all price concessions effectuated through wholesalers, including all

 discounts and rebates. 38 U.S.C. § 8126(h)(5). Forty to 75% of that net price is a very low price.

        Once the Secretary chooses a final price, the IRA requires the manufacturer to “agree[]” to

 that price—which HHS then publishes as the “maximum fair price”—and to “agree[]” to provide

 access to the drug at that price to Medicare beneficiaries. See id. §§ 1320f-2(a), 1320f-3(a),

 1320f(c)(2). As a result of the IRA’s price ceiling, this government-imposed price will start out at

 least 25% to 60% below market-price benchmarks, but it of course could be much lower. See id.

 § 1320f-3(c)(1)(C), (b)(2)(F). Manufacturers that agree to this price but fail to provide access to




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 the drug at it owe a civil monetary penalty of 10 times the difference between the price charged

 and the “maximum fair price,” multiplied by the total number of units sold. Id. § 1320f-6(a).

        If the manufacturer refuses to “agree” to the Secretary’s chosen price—or, for that matter,

 refuses to participate in the sham “negotiation” process at the front end, knowing that it will be

 stuck “agreeing” to whatever price the Secretary dictates—it is hit with the massive “excise tax.”

 This penalty amounts to multiples of all U.S. sales of “the designated drug”—not just sales in

 connection with federal healthcare programs. 26 U.S.C. § 5000D(a), (b). Although the IRA styles

 this penalty an “excise tax,” in reality it is an astronomical daily fine that continues until the

 manufacturer caves. Under the statutory formula, the “excise tax” starts at about 185% and quickly

 rises to 1,900% of the selected drug’s price, so that the fine for a $100 drug would be $1,900. See

 Cong. Rsch. Serv., No. R47202, Tax Provisions in the Inflation Reduction Act of 2022 (H.R. 5376),

 at 29 (2022), https://crsreports.congress.gov/product/pdf/R/R47202.

        Manufacturers cannot escape the vise created by this program. First, even if it were possible

 to avoid the price-setting scheme by withdrawing from Medicare and Medicaid, no manufacturer

 could afford to do so and leave tens of millions of Medicare and Medicaid patients without access

 to its products. Second, in any event, a manufacturer legally cannot withdraw in time to avoid the

 IRA’s penalties. That is because Congress mandated that when a manufacturer opts to withdraw,

 it takes 11 to 23 months, depending on the timing during the calendar year, for a notice of

 withdrawal to take effect. See 42 U.S.C. § 1395w-114a(b)(4)(B)(ii) (Medicare Coverage Gap

 Agreement); 42 C.F.R. § 423.2345(b)(2) (same); 42 U.S.C. § 1395w-114c(b)(4)(B)(ii)

 (“Manufacturer Discount Agreement” under IRA). As a result, if a manufacturer attempted to

 terminate its participation in July 2023, the termination would not take effect until January 1, 2025.

 The manufacturer would be trapped: it would have to wait for a year and a half before “none of




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 the drugs of the manufacturer of the designated drug are covered” by Medicare or Medicaid, 26

 U.S.C. § 5000D(c)(1)(A)(ii), and during that lengthy period it would remain subject to the

 crippling “excise tax.”4 Thus, there is no escaping the IRA’s price controls.

        Despite—or maybe because of—the grave risks that HHS would impose confiscatory

 prices, Congress went to great lengths to insulate the price-control program from scrutiny. The

 IRA provides that there will be “no administrative or judicial review” of HHS’s key determinations

 regarding which drugs will be subject to price controls or of the prices it sets. 42 U.S.C. § 1320f-

 7. The IRA combines that curtailment of back-end judicial review with a disregard of basic

 procedural protections on the front end. For example, instead of affording manufacturers notice or

 opportunity to be heard regarding key decisions that HHS will make, the IRA directs HHS to

 “implement” the program “for 2026, 2027, and 2028 by program instruction or other forms of

 program guidance.” Id. § 1320f-1 note.

        B.      The IRA’s Harmful Consequences for Plaintiffs’ Members

        Plaintiffs represent members that include a wide variety of companies of every size in a

 wide range of industries, including pharmaceutical manufacturers that are directly subject to the

 IRA’s unlawful price-control scheme. See Quaadman Decl. (U.S. Chamber) ¶ 5; Kershner Decl.

 (Dayton Area Chamber) ¶ 5; Long Decl. (Ohio Chamber) ¶ 5; Holcomb Decl. (Michigan Chamber)

 ¶ 5. For example, several of Plaintiffs’ members market drugs that are frequently prescribed to



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   CMS’s non-binding June 30 guidance suggests that a manufacturer could withdraw from federal
 healthcare programs faster than the statutes discussed in the text permit. See Revised Guidance at
 120–21, 129–31. But CMS cannot evade the detailed timing limitations that Congress specifically
 imposed on termination “[b]y a manufacturer” by treating a termination by a manufacturer as if it
 is a termination “[b]y the Secretary.” Compare 42 U.S.C. § 1395w-114a(b)(4)(B)(i) with id.
 § 1395w-114a(b)(4)(B)(ii). Despite CMS’s desire to paint the price-control program as
 “voluntary,” an agency guidance document cannot undo statutory mandates. Nor can an agency
 solve by “guidance” a constitutional defect in a statute.


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 Medicare Part D beneficiaries. Based on CMS data on Part D expenditures, internal analyses, and

 studies by market analysts, a number of these drugs are expected to be on the September 1 list of

 drugs selected for price controls, and other products will be on subsequent lists. These include

 AbbVie’s drug IMBRUVICA®. See Staff Decl. ¶ 5. The IRA compels Plaintiffs’ members to

 gather and submit sensitive commercial information regarding these products, incur other

 unrecoverable compliance costs, “agree” to “negotiate” with the Secretary, and subject themselves

 to a price-control program that lacks adequate safeguards to ensure just and reasonable prices and

 a fair return on investment. See Staff Decl. ¶¶ 6–19; Michigan Bell, 257 F.3d at 594–95.

                                        LEGAL STANDARD

        “A district court must balance four factors when considering a motion for a preliminary

 injunction: (1) whether the movant has a strong likelihood of success on the merits; (2) whether

 the movant would suffer irreparable injury absent the injunction; (3) whether the injunction would

 cause substantial harm to others; and (4) whether the public interest would be served by the

 issuance of an injunction.” Poffenbarger v. Kendall, 588 F. Supp. 3d 770, 783 (S.D. Ohio 2022)

 (quoting Bays v. City of Fairborn, 668 F.3d 814, 818–19 (6th Cir. 2012)). The third and fourth

 factors “merge” when “the Government is the opposing party.” Id. (quoting Wilson v. Williams,

 961 F.3d 829, 845 (6th Cir. 2020)). Where a plaintiff has shown a strong likelihood of success on

 a constitutional claim, the equities weigh so heavily in the plaintiff’s favor that it is “‘usually ...

 unnecessary to dwell on the remaining three factors.’” Id. (quoting Roberts v. Neace, 958 F.3d 409,

 416 (6th Cir. 2020) (per curiam)).




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                                            ARGUMENT

 I.     Plaintiffs are likely to succeed on the merits of their due process claim because the
        IRA’s price-control regime violates well-established due process principles.

        To demonstrate a strong likelihood of success on the merits, “it is ordinarily sufficient if

 the plaintiff has raised questions going to the merits so serious, substantial, difficult, and doubtful

 as to make them a fair ground for litigation.” Id.; accord Stryker Emp. Co. v. Abbas, 60 F.4th 372,

 385 (6th Cir. 2023). Plaintiffs’ due process claim easily meets and exceeds that standard, because

 the IRA’s price-control program is plainly unconstitutional under Sixth Circuit precedent

 elucidating the minimum due process requirements for administrative price-control regimes.

        Michigan Bell explains how due process applies here. The Due Process Clause of the Fifth

 Amendment prohibits the federal government from depriving anyone of “life, liberty, or property”

 without “due process of law.” In the context of price-control laws, the Supreme Court has long

 held that “[p]rice control is ‘unconstitutional ... if arbitrary, discriminatory, or demonstrably

 irrelevant to the policy the legislature is free to adopt.’” In re Permian Basin Area Rate Cases, 390

 U.S. 747, 769–70 (1968) (quoting Nebbia v. New York, 291 U.S. 502, 539 (1934)). Government-

 set prices must at least be “just and reasonable.” Id. (citing Fed. Power Comm’n v. Nat. Gas

 Pipeline Co., 315 U.S. 575, 586 (1942)). And as the Sixth Circuit explained in Michigan Bell, a

 price-control statute is unconstitutional unless it “adequately safeguards against confiscatory rates,

 and therefore, ensures a constitutional rate of return,” which includes “a fair and reasonable rate

 of return on investment.” 257 F.3d at 593; see also Guar. Nat’l Ins. Co. v. Gates, 916 F.2d 508, 512

 (9th Cir. 1990) (invalidating Nevada law freezing insurance rates because it provided no

 “mechanism to guarantee a constitutionally required fair and reasonable return”); Monongahela

 Power Co. v. Schriber, 322 F. Supp. 2d 902, 918–19 (S.D. Ohio 2004), as modified on

 reconsideration (June 14, 2004) (granting preliminary injunction against price-control statute in



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 electric power industry). The IRA lacks any mechanism for providing those vital protections. It

 has no statutory standard requiring just and reasonable prices. And it expressly prohibits judicial—

 and even administrative—review of HHS’s unilateral price determinations. Indeed, from all

 appearances, the IRA is designed to encourage the imposition of confiscatory prices without

 providing any opportunity for error correction.

        Michigan Bell held unconstitutional “on its face” a price-setting statute that lacked

 protections from confiscatory pricing. 257 F.3d at 594 (emphasis added). There, the Sixth Circuit

 considered a facial constitutional challenge to a Michigan statute that imposed a temporary rate

 freeze on certain telephone services “except for services the [agency] deemed competitive.” Id. at

 590. The court held that this “competitive opt-out provision” failed to “safeguard against

 imposition of confiscatory rates” because, among other reasons, it did not “address the

 reasonableness” of the rates and did not “provide for timely relief from confiscatory rates.” Id. at

 594. Although the companies had “other unregulated income streams,” they could not be “required

 to subsidize their regulated services with income from rates either deemed to be competitive, or

 with revenues generated from unregulated services.” Id. (citing Brooks-Scanlon Co. v. R.R.

 Comm’n, 251 U.S. 396 (1920)).

        It made no difference to the Sixth Circuit’s conclusion that “other provisions” of the statute

 “arguably attemp[ted] to ensure the plaintiffs receive a constitutional rate of return,” including

 statutory language purporting to guarantee that rates be “just and reasonable.” Id. (emphasis

 added). Upon examination, these provisions “[did] not guarantee a constitutionally adequate rate

 of return” because they “merely permit[ted] telephone service providers to cover costs, and [did]

 not ensure a fair and reasonable rate of return on investment.” Id. at 594–96. Because “merely

 providing for a return which only covers costs is inadequate under well-established due process




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 standards,” these provisions did not provide “an adequate safeguard against confiscatory rates.”

 Id. For the same reason, in addition to holding that the rate-freeze provision violated due process,

 the court also invalidated a provision that abolished a fee traditionally charged by telephone

 companies “without providing a mechanism to safeguard the right to earn a constitutional rate of

 return.” Id. at 596 (affirming preliminary injunction against rate-freeze provision and reversing

 denial of PI against fee-elimination provision).

        Under Michigan Bell, this is an easy case. The IRA is even less protective of companies’

 constitutionally protected interests in an adequate rate of return than were the statutory price-

 setting provisions held invalid in Michigan Bell. While attempting to create an illusion of fairness

 with the label “maximum fair price,” the IRA does not guarantee any return to manufacturers at

 all—let alone a just and reasonable one. Whereas the statute in Michigan Bell at least guaranteed

 that companies could recover their costs, the IRA does the opposite. The IRA establishes no price

 floor (apart from a narrow, time-limited exception for certain small biotech manufacturers), see 42

 U.S.C. § 1320f-3(b)(2)(F)(ii); establishes an across-the-board ceiling well below market prices,

 see id. § 1320f-3(c)(1)(C), (b)(2)(F); and directs the Secretary to aim for “the lowest” price below

 that ceiling, id. § 1320f-3(b)(1). And to make matters even worse, Congress barred “administrative

 or judicial review” of HHS’s “determination of a maximum fair price.” Id. § 1320f-7.

        In sum, far from “adequately safeguard[ing] against imposition of confiscatory rates” as

 due process requires, Michigan Bell, 257 F.3d at 594, the IRA contains multiple features that invite

 the imposition of arbitrary and confiscatory prices, while shutting the door to administrative and

 judicial review that could allow for correction of such constitutional errors.5 The IRA’s veneer of


    5
       To be clear, Plaintiffs do not suggest that a scheme that invited arbitrary and confiscatory
 price-setting would be constitutional if it provided for judicial review. But the absence of judicial



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 “negotiation” is an attempt to conceal that blatant violation of due process. If the agency’s “offer”

 is too low, the manufacturer can propose a “counteroffer.” 42 U.S.C. § 1320f-3(b)(2)(C)(i). But

 this affords the manufacturer no real protection: the agency can simply reject the “counteroffer”

 and impose whatever price it wants—subject only to the IRA’s price ceiling and its instruction to

 strive for the “lowest” price, and secure in the knowledge that no court can review that selected

 price. While the agency is supposed to “consider” various “factors,” id. § 1320f-3(e), CMS has

 acknowledged that the statute does not tell it how it should consider those factors. See supra at 7.

        Moreover, nothing in the IRA even encourages, let alone requires, the agency to meet the

 constitutional minimum of a “fair and reasonable return on investment.” Michigan Bell, 257 F.3d

 at 594. At best, the IRA merely instructs the agency to consider, as one factor among many in a

 standardless stew in its unreviewable discretion, the extent to which the manufacturer has

 recovered certain costs for the selected drug. But providing for recovery of costs alone, without a

 reasonable return on investment, is simply “inadequate under well-established due process

 standards.” Id. at 596.6 And even if it were possible for a “maximum fair price” to be

 constitutionally adequate—a highly dubious proposition given the low statutory ceiling and

 Congress’s directive to aim for the “lowest” price—the Sixth Circuit has held that such a

 “possibility” is insufficient: “[I]t is axiomatic that due process guarantees a fair and reasonable



 review here underscores the constitutional harm. Worse, the combination of Congress’s delegation
 of vast power and the absence of vital safeguards, such as intelligible standards and judicial review,
 also violates the separation of powers by effectively authorizing HHS to do whatever it wants,
 subject to no legal standard or procedural protections. See Compl. ¶¶ 121–45, Dkt. 1.
    6
       Recovery of costs alone is particularly inadequate in the pharmaceutical industry, where each
 manufacturer must recoup, on each drug that makes it to market, not only its investments in
 developing that drug but also a portion of the costs incurred in its broader research programs given
 that the vast majority of researched drugs never make it to market. The IRA appears to instruct
 HHS to ignore this practical reality in setting prices; at the very least, the IRA indisputably does
 not guarantee that the price-setting process take account of this crucial consideration.


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 regulatory rate, not just the possibility of acquiring such a rate from an authority selecting rates

 within a prescribed range containing confiscatory and fair rates.” Id. at 595 n.4 (emphasis added).

        As explained above, the IRA is even more egregious than the regime at issue in Michigan

 Bell. This is underscored by the draconian penalties that Congress provided to coerce

 manufacturers to “agree” to “provide access” to their drugs at whatever price the agency dictates.

 42 U.S.C. § 1320f-2(a)(1), (2), (3). The “excise tax” of up to 1900% on all sales is so wildly

 excessive that no one could sell (or buy) a drug subject to it—which is why the Congressional

 Budget Office projected that it would raise precisely zero dollars in revenue. See CBO, How CBO

 Estimated the Budgetary Impact of Key Prescription Drug Provisions in the 2022 Reconciliation

 Act (Feb. 2023), https://www.cbo.gov/system/files/2023-02/58850-IRA-Drug-Provs.pdf. Nor is

 withdrawing from federal healthcare programs an option, both because no manufacturer could

 afford to do so and because legally it is not possible to withdraw fast enough to avoid the “excise

 tax.” See supra at 8–9. Indeed, Congress could not have intended withdrawal to be a real option:

 that would create a national health crisis as millions of Americans lost access to critically needed

 and often life-sustaining prescription drugs.

        It is no accident that the IRA lacks all of these required procedural protections. Congress

 portrayed this price-control regime as merely involving “agreements” by manufacturers to

 “negotiate” “fair” prices in an effort to obscure the reality that this is a price-control regime. But

 this veneer of voluntariness cannot hide the truth of the statute, nor distinguish it from what has

 already been held unconstitutional under Sixth Circuit precedent. Because the IRA includes none




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 of the procedural protections that Michigan Bell held are required, the Court should enjoin the

 IRA’s price-control regime.7

         Because Michigan Bell is on point and explains the requirements of due process in the

 specific context relevant here, this Court need not also apply the general due-process balancing

 test laid out in Mathews v. Eldridge, 424 U.S. 319 (1976). See Michigan Bell, 257 F.3d at 592–93

 (relying on precedent specific to price controls without applying Eldridge); Monongahela Power,

 322 F. Supp. 2d at 918–19 (same); cf. Hicks v. Comm'r of Soc. Sec., 909 F.3d 786, 796–98 (6th Cir.

 2018) (holding that Social Security Administration’s “procedures violate longstanding principles

 of procedural due process that predate the Mathews test”). Applying Eldridge, however, would

 independently lead to the same conclusion. Under Eldridge, courts weigh “three distinct factors:

 First, the private interest that will be affected by the official action; second, the risk of an erroneous

 deprivation of such interest through the procedures used, and the probable value, if any, of

 additional or substitute procedural safeguards; and third, the Government’s interest, including the

 function involved and the fiscal and administrative burdens that the additional or substitute

 procedural requirement would entail.” 424 U.S. at 335; accord Johnson v. City of Saginaw, 980

 F.3d 497, 510 (6th Cir. 2020). These factors strongly favor Plaintiffs.

         First, the private interests endangered by the IRA’s price controls are enormous. The IRA

 threatens manufacturers’ hard-earned intellectual property, their associated investments and

 research programs, and their right to sell their products at market-based prices. Manufacturers rely




     7
      The IRA’s resort to compelled doublespeak also violates the First Amendment. Requiring
 manufacturers to say they “agree” to the “maximum fair price”—when the truth is that the IRA
 authorizes HHS to make manufacturers an “offer” they can’t refuse—serves no purpose other than
 to mislead the public about the nature of the price-setting process. That, of course, is not a
 constitutionally permissible purpose for coercing speech. See Compl. ¶¶ 209–22.


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 on the promise of future sales—and the ability to charge market-based prices—when pioneering

 and patenting innovative drugs. See King Instruments v. Perego, 65 F.3d 941, 950 (Fed. Cir. 1995).

         Second, erroneous deprivations are virtually certain and could be substantially mitigated

 by additional safeguards. Far from containing procedural protections adequate to prevent

 unconstitutional and erroneous deprivations, the IRA appears designed to cause such deprivations

 and paper them over with a façade of supposedly voluntary “negotiations.” Ordinarily, price-

 control statutes set forth a legal standard that purports to ensure at least just and reasonable prices.

 See, e.g., In re Permian Basin Area Rate Cases, 390 U.S. at 754 (Natural Gas Act); 16 U.S.C.

 § 824d (Federal Power Act). The IRA, in contrast, not only imposes a ceiling well below market

 prices but directs the agency to choose the “lowest” price, without any guaranteed minimum. Price-

 control statutes also ordinarily provide for judicial review to ensure that the agency’s price-setting

 complies with statutory requirements and avoids arbitrary, discriminatory, or confiscatory results.

 See, e.g., 15 U.S.C § 717r and 16 U.S.C. § 825l (providing for judicial review of Federal Energy

 Regulatory Commission rate-setting); cf. Hicks, 909 F.3d at 796–98 (emphasizing the importance

 of “a fair opportunity to rebut the Government's factual assertions before a neutral

 decisionmaker”). The IRA, in contrast, strips manufacturers of judicial and administrative review.

 And the risk of unfair decision-making is heightened here because the government is not only the

 price-setter but the payor—creating an obvious risk of actions distorted by the mixing of the

 government’s two roles.

         Third, the government’s interest in withholding those well-established procedural

 safeguards is nonexistent. Federal and state governments have consistently provided these basic

 protections in similar contexts for generations. The IRA is highly anomalous, if not entirely

 unprecedented, in omitting all of these traditional safeguards.




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           Thus, while this case can and should be resolved by a straightforward application of

 Michigan Bell, applying the Eldridge test would lead to the same conclusion.

 II.       Plaintiffs’ members will be irreparably harmed without an injunction.

           The IRA is already causing irreparable harm to Plaintiffs’ members because it is causing

 them, and will continue to cause them, to suffer unrecoverable economic losses. Michigan Bell,

 once again, is on point and makes the irreparable harm analysis here straightforward. A case where

 there is “no legal avenue open to the company by which to recoup its financial losses” is “a classic

 example of a situation in which a party will suffer irreparable harm” absent a preliminary

 injunction. Michigan Bell, 257 F.3d at 598 (quotation marks omitted). And even if companies could

 recoup losses by charging higher prices on other products, the resulting loss of customer goodwill

 would be “difficult to compute” and thus “amounts to irreparable injury.” Id. (quotation marks

 omitted); see RECO Equip., Inc. v. Wilson, No. 20-4312, 2021 WL 5013816, at *4 (6th Cir. Oct.

 28, 2021). Further, in suits against the government, compliance costs and other economic losses

 due to the effects of regulation generally constitute irreparable harm because “sovereign immunity

 bars the [court] from granting [plaintiffs] damages.” Kentucky v. U.S. ex rel. Hagel, 759 F.3d 588,

 599 (6th Cir. 2014); accord Kentucky v. Biden, 57 F.4th 545, 555–56 (6th Cir. 2023).8 For example,

 AbbVie, which is a member of the Dayton Area Chamber and the U.S. Chamber, markets the drug

 IMBRUVICA® in the United States. According to CMS data, IMBRUVICA® was among the

 drugs with the top ten gross annual Part D expenditures for plan year 2021. See Staff Decl. ¶ 5.

 Market analysts expect IMBRUVICA® to be among the drugs selected for the IRA’s price controls



       8
     More broadly, courts presume irreparable harm in cases involving constitutional violations.
 Roberts, 958 F.3d at 416; Obama for Am. v. Husted, 697 F.3d 423, 436 (6th Cir. 2012); ACLU v.
 McCreary Cnty., 354 F.3d 438, 445 (6th Cir. 2003). The Court need not rely on this presumption,
 however, because Plaintiffs have shown clear irreparable harm under Michigan Bell.


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 by September 1, 2023. Id. If it is, then AbbVie would be forced to enter “negotiations” with the

 Secretary, disclose competitively sensitive proprietary information about IMBRUVICA® to the

 Secretary, and “agree” to the Secretary’s unreasonably low “maximum fair price,” which will be

 substantially lower than current market prices for IMBRUVICA®. Id. ¶¶ 6–8. As explained in

 more detail in the accompanying declaration, the IRA’s price controls would cause AbbVie to

 suffer extremely significant financial harm, and AbbVie is already incurring, and will continue to

 incur, substantial costs to comply with the IRA’s burdensome requirements. See id. ¶¶ 15–19. The

 agency itself acknowledges that “manufacturers need to take a number of actions well in advance

 of September 1, 2023, to prepare for the possibility that a drug that they manufacture will be

 included on the selected drug list.” Revised Guidance at 9. And as CMS’s template manufacturer

 “agreement” makes clear, “[a]ctions by the [m]anufacturer for damages are not permitted.” CMS,

 Medicare       Drug        Price      Negotiation       Program        Agreement,        at      4,

 https://www.cms.gov/files/document/inflation-reduction-act-manufacturer-agreement-

 template.pdf. Thus, Plaintiffs easily satisfy the irreparable-harm requirement.

 III.   Enjoining the IRA’s unconstitutional price-control program will not harm others and
        will promote the public interest.

        As noted above, “the two remaining preliminary injunction factors—whether issuing the

 injunction would harm others and where the public interest lies—merge when the government is

 the defendant.” Kentucky, 57 F.4th at 556 (citing Wilson v. Williams, 961 F.3d 829, 844 (6th Cir.

 2020). In a constitutional challenge like this one, these factors generally track the likelihood of

 success on the merits, because “it is always in the public interest to prevent the violation of a

 party’s constitutional rights,” G & V Lounge, Inc. v. Michigan Liquor Control Comm’n, 23 F.3d

 1071, 1079 (6th Cir. 1994), and “[n]o third party has a right to rely upon a confiscatory rate and

 no party may benefit from the violation of another party’s constitutional rights.” Monongahela



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 Power, 322 F. Supp. 2d at 921-22; see also Michigan Bell, 257 F.3d at 600 (“The public is certainly

 interested in the prevention of enforcement of ordinances which may be unconstitutional.”)

 (citation and quotation marks omitted); Kentucky, 57 F.4th at 556 (“[A]t bottom, the public interest

 lies in a correct application of the law[.]”) (citation and quotation marks omitted); Chabad of S.

 Ohio & Congregation Lubavitch v. Cincinnati, 363 F.3d 427, 436 (6th Cir. 2004) (“[T]he public

 interest is served by preventing the violation of constitutional rights[.]”).

        Moreover, even apart from the paramount public interest in protecting constitutional rights,

 it is in no one’s interest to establish a drug price-control regime bereft of safeguards to prevent

 arbitrary, discriminatory, and confiscatory prices. Whatever one thinks of the drawbacks and

 purported benefits of price controls as a general matter, the government has no legitimate excuse

 for withholding basic procedural safeguards that it has long incorporated into other administrative

 price-control programs.

                                           CONCLUSION

        In light of Michigan Bell, this Court should enjoin Defendants from implementing the

 IRA’s drug price-control program.

 Dated: July 12, 2023                           Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

            I hereby certify that on July 12, 2023, and in accordance with S.D. Ohio Civ. R. 65.1(b)(1),

 a true and correct copy of the foregoing Memorandum in Support of a Motion for Preliminary

 Injunction was electronically filed with the Clerk of Court using the CM/ECF system which will

 send notification to all counsel of record.

                                                  /s/ Tami Hart Kirby
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